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                 EXHIBIT A
    Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 2 of 57 Page ID #:11




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csc                                                                                                                      null / ALL
                                                                                                     Transmittal Number: 25136888
Notice of Service of Process                                                                            Date Processed: 06/29/2022

Primary Contact:           Sabrina Mizrachi
                           The Estee Lauder Companies Inc.
                           110 E 59th St
                           Fl 36
                           New York, NY 10022-1372

Electronic copy provided to:                   Deirdre Stanley
                                               Lauren Farkas
                                               Christina Feeny
                                               Diane Konz
                                               Spencer Smul
                                               Kents Sanchez

Entity:                                       Make-Up Art Cosmetics Inc.
                                              Entity ID Number 1758658
Entity Served:                                Make-Up Art Cosmetics, Inc.
Title of Action:                              Melissa Epstein vs. Make-Up Art Cosmetics, Inc.
Matter Name/ID:                               Melissa Epstein vs. Makeup Art Cosmetics, Inc. (12498768)
Document(s) Type:                             Summons and Amended Complaint
Nature of Action:                             Discrimination
Court/Agency:                                 Los Angeles County Superior Court, CA
Case/Reference No:                            22STCV16574
Jurisdiction Served:                          California
Date Served on CSC:                           06/22/2022
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Konell Ruggiero LLP
                                              213-538-1360

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                                              Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 3 of 57 Page ID #:12




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                                                     Attorneys for Plaintiff, MELISSA EPSTEIN
                                                   5

                                                   6

                                                   7

                                                   8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                   9                             FOR THE COUNTY OF LOS ANGELES

                                                  10

                                                  11 MELISSA EPSTEIN,                             CASE NO. 22STCV16574
                                                                                                  Assigned to Hon. Stephen I. Goorvitch, Dept. 39
                                                  12               Plaintiff,                     Unlimited Civil Action

                                                  13         vs.                                  FIRST AMENDED COMPLAINT FOR
                                                                                                  DAMAGES:
                                                  14 MAKE-UP ART COSMETICS, INC., a
                                                     Delaware Corporation; ESTEE LAUDER,          [Potential PAGA Representative Action]
                                                  15 INC., a Delaware Corporation; THE ESTEE
Electronically Received 06/16/2022 04:56 PM




                                                     LAUDER COMPANIES INC., a Delaware            1. Failure to Provide Meal Breaks
                                                  16 Corporation; and DOES 1 — 25, inclusive,        (Cal. Lab. Code §§ 226.7 and 512)
                                                                                                  2. Failure to Provide Rest Breaks (Cal. Lab.
                                                  17               Defendants.                       Code § 226.7 and Wage Order 7)
                                                                                                  3. Failure to Pay Overtime (Cal. Lab. Code
                                                  18                                                 §§ 510, 1194, and 1198,
                                                                                                  4. Failure to Provide Accurate Wage
                                                  19                                                 Statements (Cal. Lab. Code § 226)
                                                                                                  5. Waiting Time Penalties
                                                  20                                                 (Cal. Labor Code §§ 201 and 203)
                                                                                                  6. Age Discrimination (FEHA)
                                                  21                                              7. Failure to Prevent/Correct Discrimination
                                                                                                     (FEHA)
                                                  22                                              8. Wrongful Termination in Violation of
                                                                                                     Public Policy
                                                  23                                              9. Unfair Business Practices (Cal. Bus. and
                                                                                                     Prof. Code § 17200 et seq.)
                                                  24
                                                                                                  JURY TRIAL DEMANDED
                                                  25
                                                                                                  Action Filed: 05/19/2022
                                                  26

                                                  27 ///

                                                  28   ///
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     1       Plaintiff MELISSA EPSTEIN complains and alleges as follows:

     2                                           I.   SUMMARY

     3       1.   This is an action by Plaintiff MELISSA EPSTEIN, whose employment with Defendants

     4 was fraught with Labor Code violations and discrimination, ultimately concluding with her

     5 wrongful termination. Plaintiff brings this action against Defendants for economic, non-economic,

     6 compensatory, special, and punitive damages, pre judgment interest, and costs and reasonable

     7 attorneys' fees.

     8                                             II. PARTIES

     9       2.   Plaintiff EPSTEIN ("Plaintiff' and/or "EPSTEIN") is, and at all times mentioned in this

    10 First Amended Complaint was, a resident of the County of Los Angeles, California.

    11       3.   Defendant MAKE-UP ART COSMETICS, INC., a Delaware Corporation, is, and at all

    12 times mentioned in this First Amended Complaint was, authorized to operate by the State of

    13 California and the United States government and authorized and qualified to do business in the

    14 County of Los Angeles. Defendant's place of business, where the following causes of action took

    15 place, was and is in the County of Los Angeles, California.

    16       4.   Defendant ESTEE LAUDER INC., a Delaware Corporation, is, and at all times mentioned

    17 in this First Amended Complaint was, authorized to operate by the State of California and the

    18 United States government and authorized and qualified to do business in the County of Los

    19 Angeles. Defendant's place of business, where the following causes of action took place, was and

    20 is in the County of Los Angeles, California.

    21       5.   Defendant THE ESTEE LAUDER COMPANIES INC., a Delaware Corporation, is, and

    22 at all times mentioned in this First Amended Complaint was, authorized to operate by the State of

    23 California and the United States government and authorized and qualified to do business in the

    24 County of Los Angeles. Defendant's place of business, where the following causes of action took

    25 place, was and is in the County of Los Angeles, California.

    26       6.   Defendants Does 1 to 25, inclusive, are sued under fictitious names pursuant to Code of

    27 Civil Procedure section 474. Plaintiff is informed and believes, and on that basis alleges, that each

    28 of the defendants sued under fictitious names is in some manner responsible for the wrongs and
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     1 damages alleged below, in so acting was functioning as the agent, servant, partner, and employee

     2 of the co-defendants, and in taking the actions mentioned below was acting within the course and

     3 scope of his or her authority as such agent, servant, partner, and employee, with the permission and
     4 consent of the co-defendants. The named defendants and Doe defendants are sometimes hereafter

     5 referred to, collectively and/or individually, as "Defendants."

     6       7.   All Defendants compelled, coerced, aided, and/or abetted the discrimination and other acts

     7 or omissions to act as alleged in this First Amended Complaint, which conduct is prohibited

     8 under California Government Code section 12940(i) and various Labor Code sections. All

     9 Defendants were responsible for the events and damages alleged herein, including on the following

    10 bases: (a) Defendants committed the acts alleged; (b) at all relevant times, one or more of the

    11 Defendants was the agent or employee, and/or acted under the control or supervision, of one or

    12 more of the remaining Defendants and, in committing the acts alleged, acted within the course and

    13 scope of such agency and employment and/or is or are otherwise liable for Plaintiffs damages; (c)

    14 at all relevant times, there existed a unity of ownership and interest between or among two or more

    15   of the Defendants such that any individuality and separateness between or among those Defendants

    16 has ceased, and Defendants are the alter egos of one another. Defendants exercised domination

    17 and control over one another to such an extent that any individuality or separateness of Defendants

    18 does not, and at all times herein mentioned did not, exist. Adherence to the fiction of the separate

    19 existence of Defendants would permit abuse of the corporate privilege and would sanction fraud

    20 and promote injustice. All actions of all Defendants were taken by employees, supervisors,

    21   executives, officers, and directors during employment with all Defendants, were taken on behalf of

    22 all Defendants, and were engaged in, authorized, ratified, and approved of by all other Defendants.

    23       8.   Defendants, both directly and indirectly, were employers of Plaintiff EPSTEIN, as defined

    24 in the applicable Wage Order and the Fair Employment and Housing Act ("FEHA") at Government

    25   Code section 12926(d).

    26       9.   In addition, Defendants compelled, coerced, aided, and abetted the Labor Code violations

    27 and discrimination, prohibited under California law.
    28 ///
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     1       10. At all relevant times mentioned herein, all Defendants acted as agents of all other
     2 Defendants in committing the acts alleged herein.

     3       11. All named Defendants will be referred to hereinafter as "MAC." And "Defendant(s)"

     4 refers to all Defendants including Doe Defendants.

     5                                   III. JURISDICTION AND VENUE
     6       12. Pursuant to California Code of Civil Procedure § 410.10, this Court has jurisdiction over

     7 Defendants because each Defendant is a person or a business entity that is a resident and/or

     8 business entity that is established, incorporated, and/or has sufficient minimum contacts with the

     9   State of California so far as to render exercise of jurisdiction over them consistent with traditional

    10   notions of fair play and substantial justice. Further, damages exceed the jurisdictional minimum of

    11 this Court.

    12       13. Venue is proper in this Court, pursuant to Code of Civil Procedure § 395.5, because

    13 Defendants' liabilities and obligations to Plaintiff arose in the County of Los Angeles. All actions

    14 at issue in this case occurred in the State of California and County of Los Angeles. Under the

    15. FEHA, this case can, alternatively, at Plaintiffs choice, be filed: "[I]n any county in the state in

    16 which the unlawful practice is alleged to have been committed, in the county in which the records

    17 relevant to the practice are maintained . . . or in the county in which the aggrieved person would

    18 have worked or would have had access to the public accommodation but for the alleged unlawful

    19 practice, but if the defendant is not found within any of these counties, an action may be brought

    20 within the county of the defendant's residence or principal office . . ." (California Government

    21 Code § 12965(b).)

    22                                 IV. ADMINISTRATIVE REMEDIES

    23       14. On November 19, 2021, Plaintiff filed a Complaint of Discrimination with the FEHA;

    24 Plaintiff amended that Complaint later that same day. Plaintiff received the Notices of Case

    25 Closure and Right to Sue on November 19, 2021.

    26       15. On March 22, 2022, Plaintiff submitted a Complaint with the Labor and Workforce

    27 Development Agency pursuant to the Labor Code Private Attorneys General Act of 2004 (Labor
    28 ///
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     1   Code §§ 2698, et seq.) Plaintiff may, after the requisite 60 days or other date as indicated by that

     2   Agency, seek leave to amend this First Amended Complaint, adding penalties under the Private

     3   Attorneys General Act.

     4                                    V. GENERAL ALLEGATIONS

     5       15. Plaintiff is female and was born in February 1980; she was over 40 years of age at the

     6   time of her termination from MAC.

     7       16. From about March 1998 to about March 2007, Plaintiff worked at the MAC counter of a

     8 Nordstrom department store in Topanga, California. In or about April 2007, Plaintiff was hired to

     9   work directly for MAC as a non-exempt employee, starting her career in Malibu as a MAC artist

    10   and salesperson. Within a year, Plaintiff was promoted to "Key Holder" at the store with an

    11 increase in her hourly wage. Throughout her career with MAC, Plaintiff regularly earned hourly

    12   pay raises and good to exceptional performance evaluations.

    13        17. In or around September 2015, Plaintiff transferred from the MAC Malibu Store to the

    14 MAC Westlake Village Store, again in the non-exempt position of Key Holder, earning an increase

    15   in her hourly wage. In or around July 2017, Plaintiff was demoted from full time to part time

    16   employment at the Westlake Village location due to MAC's "restructuring/reorganization,"

    17 working approximately 28 hours per week. However, Plaintiffs Store Manager at the time was

    18 still working Plaintiff at 30 hours or more a week due to the needs of the store's business and short

    19   staffing. Despite this, Plaintiff lost all medical insurance even though she was still working as if

    20   she were a full-time employee. After a few months, in or around October 2017, Plaintiff was

    21   reinstated to full time employment of 30 hours per week. About a year later, in or around

    22   September 2018, Plaintiff was transferred to the MAC Culver City Store, still in the position of

    23   Key Holder. Soon thereafter, an incident occurred that changed everything.

    24        18. The most important factor for continuing employment at MAC is meeting one's sales

    25 goals — the amount of money in sales one brings in for MAC on a daily and monthly basis. Getting

    26   credit for the sale, as well as the resulting commission, is key.

    27        19. In or around late 2018 or early 2019, a customer by the name of "Tom" visited the MAC

    28 Culver City Store and purchased numerous products, resulting in a significant sale. Plaintiff and a
                                                           -5-

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     1 co-worker were asked by store management to pull the numerous products requested by "Tom,"

     2 which they did. After the sale concluded, Plaintiff specifically asked her manager how he wanted
     3 her to ring up the sale, which would determine the commission. Both the Store Manager and the

     4 Assistant Store Manager instructed Plaintiff to split the sales commission, which she did.

     5 Apparently, "Tom" was known by some MAC employees and was suspected of re-selling MAC

     6 products to China. Plaintiff, however, knew nothing about "Tom" and had no idea that some

     7 people at MAC suspected him of re-selling MAC products to China. This prohibited "diversion" of

     8 products by "Tom" was something MAC intended to thwart.

     9       20. On March 23, 2019, Plaintiff received a "Misconduct Warning." This Warning stated,

    10 among other things, that "The Estee Lauder Companies has determined that [Plaintiff] engaged in

    11 inappropriate workplace behavior, including but not limited to Failure to follow procedures for

    12   cash handling and sales transactions, Misuse of employee discount privileges." The notice went on

    13   to warn: "Failure to immediately stop this behavior, any reoccurrence of this behavior, or any other

    14 inappropriate behavior may result in further disciplinary action, up to and including immediate

    15 termination without additional warning." Plaintiff continued her employment without any further

    16 alleged problems, failures, or warnings.

    17       21. At or around the end of May 2021, Plaintiff was sent to the MAC Topanga Store to help

    18 train a new team there. Sometime thereafter, Plaintiff was sent to a hotel room to be interviewed

    19 by a male employee from Loss Prevention at MAC regarding "Tom" at the MAC Culver City

    20 Store. Plaintiff remained alone in the room with this male Loss Prevention officer for about 15 to

    21 20 minutes waiting for Human Resources Manager Lisa Guadan to arrive. This Loss Prevention

    22   officer started off by asserting that they had been investigating "Tom" since 2015. The officer

    23 assumed Plaintiff had dealt with "Tom" before, which Plaintiff vehemently denied; she had never

    24 known of him and had never heard of him. During the interrogation, Plaintiff explained the

    25 incident to the officer to the best of her ability. Later, Plaintiff received two separate telephone

    26 calls from management telling her she had been "cleared" and could go back to work. Plaintiff was

    27 not placed on administrative leave on the day of the interrogation, unlike her former coworkers and

    28 management team.
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     1         22. On or about July 19, 2021, Plaintiff received a text message from her former MRSO

     2   (Manager, Retail Sales and Operations) stating that the Assistant Manager position in Topanga had

     3   posted and that she (the MRSO) would like to set up an interview for Plaintiff for that position.

     4   Therefore, Plaintiff applied for the Assistant Manager position at the MAC Topanga Store. On

     5   July 26, 2021, Plaintiff was interviewed for that position and, three days later, was offered the job.

     6   On August 3, 2021, Plaintiff received MAC's written offer for the Assistant Manager position,

     7 which she electronically accepted. However, inexplicably, eight days later, Plaintiff was

     8   terminated from her employment with MAC. The internal electronic letter from HR Manager Lisa

     9   Guadan, dated and effective August 11, 2021, stated that Plaintiff was terminated due to her

    10   "inability to meet company standards."

    11         23. At all relevant times, MAC was the employer of Plaintiff within the meaning of Section

    12   2(F) of Industrial Welfare Commission Order No. 7-2001 ("Wage Order 7") and Labor Code § 18

    13   in that MAC exercised control over the wages, hours, and/or working conditions of Plaintiff.

    14         24. At all relevant times, Plaintiff has been both an "employee" within the meaning of Section

    15   2(E) of Wage Order 7 and an "aggrieved employee" within the meaning of Labor Code § 2699(c).

    16 At all relevant times, Plaintiff has been a non-exempt employee of MAC and is entitled to the full

    17 protections of the Labor Code and the applicable Wage Order.

    18         25. During Plaintiffs tenure with MAC, she rarely was allowed to take a full rest period or

    19   lunch break, as she often was the only salesperson in the store and/or the expectation and pressure

    20   from above was to work through those legally mandated rest periods and lunch breaks. Taking

    21   such rest breaks would mean Plaintiff and other similarly situated employees were not

    22   appropriately motivated and, therefore, not suitable for advancement.

    23         26. Similarly, during Plaintiffs tenure with MAC, working overtime was expected, but MAC

    24 avoided paying for overtime. Plaintiff regularly worked overtime without receiving from MAC the

    25   legally mandated compensation to which she was entitled.

    26         27. Because MAC failed to pay Plaintiff for missed meal and rest periods and overtime, MAC

    27 failed to timely pay Plaintiff all wages due at the time of her discharge and failed to pay waiting

    28   ///
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      1 time penalties pursuant to the Labor Code. In addition, these failures on the part of MAC
      2 necessarily resulted in MAC providing Plaintiff inaccurate wage statements.
      3       28. As a result of MAC's misconduct, acts, and omissions to act, Plaintiff has suffered, and

      4 continues to suffer, emotional distress including, without limitation, depression, anxiety,

      5 humiliation, loss of self-esteem, and physical manifestations arising therefrom. Accordingly,

      6 Plaintiffs physical and mental wellbeing have been negatively impacted. Plaintiff also has lost

      7 earnings and has been unable to obtain a comparable position.

      8       29. Rather than compensate Plaintiff fairly and comply with labor protection laws, Defendants

      9 sought to illegally benefit from the insufficiently compensated labor of Plaintiff and numerous

     10 other employees.

    11                                       VI. CAUSES OF ACTION

    12                                      FIRST CAUSE OF ACTION

    13                     Unpaid Missed Meal Breaks (Labor Code §§ 226.7 and 512)

    14                                         Against All Defendants

    15        30. The allegations set forth in the preceding paragraphs are re-alleged and incorporated

    16 herein by reference.

    17        31. At all times herein mentioned, Labor Code § 218 authorizes employees to sue their

    18 employers directly for any wages or penalties due to them under this article of the California

    19    Labor Code.

    20        32. At all times herein mentioned, Labor Code § 226.7(a) provides that no employer shall

    21 require an employee to work during any meal period mandated by an applicable order of the

    22    Industrial Welfare Commission (the "IWC").

    23        33. At all times herein mentioned, Labor Code § 512(a) provides that an employer may not

    24 employ an employee for a work period of more than five (5) hours per day without providing the

    25 employee with a meal period of not less than thirty (30) minutes, except that if the total work

    26 period per day is not more than six (6) hours, the meal period may be waived by mutual consent of

    27 both the employer and the employee.

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      1       34. During the relevant time period, Plaintiff was required to work in excess of five (5) hours

      2 without receiving an uninterrupted meal period of not less than thirty (30) minutes.

      3       35. Defendants fostered a work environment where the taking of uninterrupted thirty (30)

      4   minute meal breaks by their employees was frowned upon and/or prohibited because Defendants

      5 were more concerned about their profit margins than their employees' welfare and rights. As such,

      6   Plaintiff could not take any thirty (30) minute uninterrupted meal breaks without the risk of being

      7 poorly evaluated and, ultimately, terminated.

      8       36. Defendants' conduct violates Labor Code §§ 226.7(a) and 512(a), as well as Wage Order 7

      9   relating to meal breaks, tracking language of the Labor Code.

     10       37. Pursuant to Labor Code § 226.7(b), Plaintiff is entitled to recover from Defendants one (1)

     11   additional hour of pay Plaintiffs regular rate of compensation for each work day that a meal period

     12   was not provided, for a three-year statutory period dating back from the commencement of this

     13   action.

     14       38. Pursuant to Labor Code § 558, Plaintiff is entitled to recover from Defendants fifty dollars

     15   ($50.00) for each pay period for which Plaintiff was underpaid in addition to an amount sufficient

     16 to recover underpaid wages, and for each subequent violation, one hundred dollars ($100.00) for

     17   each pay period for which Plaintiff was underpaid in addition to an amount sufficient to recover

    18 underpaid wages.

    19                                     SECOND CAUSE OF ACTION

    20              Unpaid Missed Rest Breaks (Labor Code § 226.7 and IWC Wage Order 7)

    21                                         Against All Defendants

    22        39. The allegations set forth in the preceding paragraphs are re-alleged and incorporated

    23    herein by reference.

    24        40. At all times herein mentioned, Labor Code § 218 authorizes employees to sue their

    25    employers directly for any wages or penalty due to them under this article of the California Labor

    26    Code.

    27        41. At all times herein mentioned, Labor Code § 226.7(a) provides that no employer shall

    28 require an employee to work during any rest period mandated by an applicable order of the IWC.
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      1   Section 12 of Wage Order 7 states: "(A) Every employer shall authorize and permit all employees

      2 to take rest periods, which insofar as practicable shall be in the middle of each work period. The
      3   authorized rest period time shall be based on the total hours worked daily at the rate of ten (10)

      4 minutes net rest time per four (4) hours or major fraction thereof. However, a rest period need not

      5 be authorized for employees whose total daily work time is less than three and one-half (312/ ) hours.

      6 Authorized rest period time shall be counted as hours worked for which there shall be no deduction

      7   from wages. (B) If an employer fails to provide an employee a rest period in accordance with the

      8   applicable provisions of this Order, the employer shall pay the employee one (1) hour of pay at the

      9   employee's regular rate of compensation for each work day that the rest period is not provided."

     10       42. During the relevant time period, Plaintiff worked more than 3.5 hours but regularly and

     11   often was not allowed to take uninterrupted rest periods.

     12       43. Defendants' conduct, as alleged herein, violates Wage Order No. 7 and Labor Code

     13   § 226.7(a), which provides that no employer shall require any employee to work during any rest

     14 period mandated by an applicable order of the IWC.

     15       44. Pursuant to Wage Order No. 7 and Labor Code § 226.7(b), Plaintiff is entitled to recover

     16   from Defendants one (1) additional hour of pay at Plaintiffs rate of compensation for each work

     17 day that a rest period was not provided, for a three-year statutory period dating back from the date

     18   of the commencement of this action.

     19       45. Pursuant to Labor Code § 558, Plaintiff is entitled to recover from Defendants fifty dollars

     20   ($50.00) for each pay period for which Plaintiff was underpaid in addition to an amount sufficient

     21 to recover underpaid wages, and for each subsequent violation, one hundred dollars ($100.00) for

     22   each pay period for which Plaintiff was underpaid in addition to an amount sufficient to recover

     23 underpaid wages.

     24                                     THIRD CAUSE OF ACTION

     25                        Unpaid Overtime (Labor Code §§ 510, 1194 and 1198)

     26                                         Against All Defendants

     27       46. The allegations set forth in the preceding paragraphs are re-alleged and incorporated

     28 herein by reference.
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      1       47. At all times herein mentioned, Labor Code § 218 authorizes employees to sue their

      2   employers directly for any wages or penalties due to them under this article of the California Labor

      3 Code.
      4       48. At all times herein mentioned, Labor Code § 1198 provides that it is unlawful to employ

      5 persons for longer than the hours set by the IWC.

      6       49. At all times herein mentioned, IWC Wage Order 7, which is applicable to Plaintiff,

      7 provides that employees working more than eight (8) hours in one (1) day, and/or more than forty

      8 (40) hours in one (1) workweek, are entitled to payment at the rate of one-and-one half (1.5) his or

      9   her regular rate of pay for all hours worked in excess of eight (8) hours in one (1) day or more than

     10   forty (40) hours in one (1) work week. An employee who works more than twelve (12) hours in

     11   one (1) day is entitled to overtime compensation at a rate of twice his or her regular rate of pay.

     12       50. Labor Code § 510 codifies the right to overtime compensation at the rate of one-and-one-

     13   half (1.5) the regular rate of pay for all hours worked in excess of eight (8) hours in one (1) day or

     14 more than forty (40) hours in one (1) work week, or for the first eight (8) hours worked on the

    15 seventh day of work, and to overtime compensation at twice the regular rate for hours worked in

    16    excess of twelve (12) hours in one (1) day or in excess of eight (8) hours on the seventh day of

    17 work.

    18        51. During Plaintiffs employment with Defendants, Plaintiff routinely worked in excess of

    19    eight (8) hours in one (1) work day and forty (40) hours in one (1) work week.

    20        52. However, during the relevant time period, Defendants failed and refused to pay all

    21 premium overtime wages owed to Plaintiff.

    22        53. Defendants' failure and refusal to pay Plaintiff the unpaid balance of premium overtime

    23    compensation, as required by California law, violates the provisions of Labor Code §§ 510 and

    24 1198, and is therefore unlawful.

    25        54. Pursuant to Labor Code § 1194, Plaintiff is entitled to recover from Defendants her unpaid

    26 overtime compensation, as well as interest at the maximum legal rate, costs, and attorneys' fees.

    27        55. Pursuant to Labor Code § 558, Plaintiff is entitled to recover from Defendants fifty dollars

    28 ($50.00) for each pay period for which Plaintiff was underpaid in addition to an amount sufficient


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      1 to recover underpaid wages, and for each subsequent violation, one hundred dollars ($100.00) for

      2   each pay period Plaintiff was underpaid in addition to an amount sufficient to recover underpaid

      3 wages.

      4                                    FOURTH CAUSE OF ACTION
      5           Failure to Furnish Accurate Wage Statements (Labor Code §§ 226 and 226.3)

      6                                         Against All Defendants

      7       56. The allegations set forth in the preceding paragraphs are re-alleged and incorporated

      8   herein by reference.

      9       57. At all times herein mentioned, Labor Code § 218 authorizes employees to sue their

     10   employers directly for any wages or penalties due to them under this article of the California Labor

     11   Code.

     12       58. Labor Code §, 226(a) mandates that employers provide their employees, along with the

     13   employees' paychecks, "an accurate itemized statement in writing."

     14       59. Plaintiff is informed and believes and, on the basis of such information and belief, alleges

     15 that Defendants failed to provide accurate wage statements to Plaintiff pursuant to Labor Code §

     16 226(a) because it was Defendants' intent to avoid paying Plaintiff the correct wages, more

     17 specifically the overtime wages and the additional hour of pay for each missed meal and rest break

     18 per workday to which Plaintiff was legally entitled.

     19       60. Pursuant to Labor Code § 226(e), Plaintiff is entitled to recover from Defendants, for

     20 Defendants' violation of Labor Code § 226(a), the greater of all actual damages or fifty dollars

     21 ($50.00) for the initial pay period in which a violation occurred and one hundred dollars ($100.00)

     22   for each violation in a subsequent pay period, not to exceed an aggregate penalty of four thousand

    23 ($4,000).

    24        61. Moreover, Plaintiff is entitled to recover an award of costs and attorneys' fees.

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                                                         - 12 -
                                 FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 15 of 57 Page ID #:24




      1                                      FIFTH CAUSE OF ACTION
      2                         Waiting Time Penalties (Labor Code §§ 201 and 203)
      3                                         Against All Defendants
      4       62. The allegations set forth in the preceding paragraphs are re-alleged and incorporated
      5 herein by reference.

      6       63. At all times herein mentioned, Labor Code § 218 authorizes employees to sue their

      7 employers directly for any wages or penalties due to them under this article of the Labor Code.

      8       64. Labor Code § 201 mandates, in part, that if "an employer discharges an employee, the

      9 wages earned and unpaid at the time of the discharge are due and payable immediately."

     10       65. Labor Code § 203 provides, in part, that if "an employer willfully fails to pay, without

     11 abatement or reduction, in accordance with Sections [201 or 202], any wages of an employee who

     12 is discharged or who quits, the wages of the employee shall continue as a penalty from the due date

     13 thereof at the same rate until paid or until an action therefor is commenced; but the wages shall not

     14 continue for more than 30 days."

     15       66. Plaintiff is informed and believes and, on the basis of such information and belief, alleges

     16 that Defendants failed to pay all wages due to Plaintiff upon her discharge pursuant to Labor Code

     17 § 201 because it was Defendants' intent to avoid paying Plaintiff the correct wages, more

     18 specifically the overtime wages and the additional hour of pay for each missed meal and rest break

    19 per workday to which Plaintiff was legally entitled.

    20        67. Pursuant to Labor Code § 203, Plaintiff is entitled to recover from Defendants, for

    21 Defendants' violation of Labor Code § 201, any continued penalty wages arising from said

    22 violations.

    23        68. Moreover, Plaintiff is entitled to an award of costs and attorneys' fees.

    24                                      SIXTH CAUSE OF ACTION

    25                               Discrimination on the Basis of Age (FEHA)

    26                                         Against All Defendants

    27        69. The allegations set forth in the preceding paragraphs are re-alleged and incorporated

    28 herein by reference.
                                                         - 13 -
                                 FIRST AMENDED COMPLAINT FOR DAMAGES
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      1         70. At all times herein mentioned, FEHA (Government Code section 12940, et seq.), was in

      2   full force and effect and was binding on Defendants. This statute requires Defendants to refrain

      3   from discriminating against any employee because of age (40 years of age or older), as well as

      4   other characteristics included in FEHA's defined protected classes.

      5         71. Plaintiff is informed and believes and thereon alleges that Plaintiffs age was a motivating

      6   factor in Defendants' decision to terminate Plaintiffs employment after initially offering Plaintiff a

      7 promotion, which Plaintiff had accepted a week prior to her termination. Defendants accused

      8   Plaintiff of failing to follow company policies, pretextually referring to one or more incidents that

      9 had occurred about two and one-half (2.5) years earlier.

     10         72. Over the years, and during Plaintiffs tenure with MAC, Defendants demonstrated a

     11   pattern and practice of discharging older make-up artists and salespersons because they no longer

     12   reflected the image MAC requires — young, trendy, edgy. In addition to lacking the youth and

     13   edginess consistent with MAC's image, older employees often are paid more due to their seniority.

     14 California Government Code section 12941 provides, in relevant part, the following: "The Legislature

     15   declares its intent that the use of salary as the basis for differentiating between employees when

     16 terminating employment may be found to constitute age discrimination if use of that criterion adversely

     17 impacts older workers as a group, and further declares its intent that the disparate impact theory of

     18 proof may be used in claims of age discrimination. The Legislature further reaffirms and declares its

     19   intent that the courts interpret the state's statutes prohibiting age discrimination in employment broadly

     20   and vigorously, in a manner comparable to prohibitions against sex and race discrimination, and with

     21   the goal of not only protecting older workers as individuals, but also of protecting older workers as a

     22   group, since they face unique obstacles in the later phases of their careers."

     23         73. Plaintiff is informed and believes and thereon alleges that Defendants used salary and

    24 compensation as the basis for differentiating between employees, adversely impacting Plaintiff and

    25 other older employees as a group, which was a substantial factor in causing Plaintiffs harm.

    26          74. As a proximate result of Defendants' willfUl, knowing, and intentional discrimination

    27 against Plaintiff, as well as the disparate impact of Defendants' decision to use compensation as a

    28    ///
                                                            - 14 -
                                   FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 17 of 57 Page ID #:26




      1 basis for terminating older employees, Plaintiff has sustained and continues to sustain substantial

      2   losses of earnings and other employment benefits.
      3       75. As a proximate result of Defendants' willful, knowing, and intentional discrimination
      4 against Plaintiff, as well as the disparate impact of Defendants' decision to use compensation as a

      5 basis for terminating older employees, Plaintiff has suffered and continues to suffer humiliation,

      6   emotional distress, and mental and physical pain and anguish, all to her damage in a sum according

      7 to proof.

      8       76. Plaintiff has incurred and continues to incur legal expenses and attorneys' fees. Pursuant

      9 to Government Code section 12965(b), Plaintiff is entitled to recover reasonable attorneys' fees and

     10   costs (including expert costs) in an amount according to proof

     11       77. Defendants' discrimination was committed intentionally, in a malicious, fraudulent,

     12   despicable, and/or oppressive manner, and this entitles Plaintiff to punitive damages against

     13 Defendants.

     14                                   SEVENTH CAUSE OF ACTION

     15                          Failure to Prevent/Correct Discrimination (FEHA)

     16                                        Against All Defendants

     17       78. The allegations set forth in the preceding paragraphs are re-alleged and incorporated

     18 herein by reference.

     19       79. At all times herein mentioned, FEHA, and specifically Government Code § 12940(k), was

    20 in full force and effect and was binding on Defendants. This statute states that it is an unlawful

    21 employment practice in California for an employer "to fail to take all reasonable steps necessary to

    22 prevent discrimination and harassment from occurring."

    23        80. During the course of Plaintiffs employment, Defendants failed to prevent their employees

    24 from engaging in intentional actions that resulted in Plaintiff being treated less favorably because

    25 of Plaintiffs age.

    26        81. Plaintiff believes that she was subjected to discrimination because of her age.

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                                                         - 15 -
                                FIRST AMENDED COMPLAINT FOR DAMAGES
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      1        82. As a proximate result of Defendants' willful, knowing, and intentional misconduct,

      2   Plaintiff has sustained and continues to sustain substantial losses of earnings and other employment

      3   benefits.

      4        83. As a proximate result of Defendants' willful, knowing, and intentional misconduct,

      5 Plaintiff has suffered and continues to suffer humiliation, emotional distress, and physical and

      6 mental pain and anguish, all to her damage in a sum according to proof.

      7        84. Plaintiff has incurred and continues to incur legal expenses and attorneys' fees. Pursuant

      8 to Government Code section 12965(b), Plaintiff is entitled to recover reasonable attorneys' fees and

      9   costs (including expert costs) in an amount according to proof.

     10                                      EIGHTH CAUSE OF ACTION

     11                   Wrongful Employment Termination in Violation of Public Policy

     12                         (Tameny v. Atlantic Richfield Co. (1980) 27 Ca1.3d 167)

     13                                          Against All Defendants

     14        85. The allegations set forth in the preceding paragraphs are re-alleged and incorporated

     15 herein by reference.

     16        86. The actions of Defendants as alleged herein violated the Government Code, in addition to

     17 other statutes, policies, rules and regulations. Said violations were substantial and were the legal

     18 and/or proximate cause of harm, damage and injury to Plaintiff as set forth herein.

     19        87. At all times herein mentioned, California Government Code § 12920 states in pertinent

     20 part that: "It is hereby declared as the public policy of this state that it is necessary to protect and

     21 safeguard the right and opportunity of all persons to seek, obtain and hold employment without

     22   discrimination or abridgement on account of race, religious creed, color, national origin, ancestry,

     23 physical disability, mental disability, medical condition, genetic information, marital status, sex,

     24 gender, gender identity, gender expression, age, sexual orientation, or military and veteran status."

    25 At all times herein mentioned, California Government Code § 12921(a) states: "The opportunity to

    26 seek, obtain, and hold employment without discrimination because of race, religious creed, color,

    27 national origin, ancestry, physical disability, mental disability, medical condition, genetic
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                                  FIRST AMENDED COMPLAINT FOR DAMAGES
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     1 information, marital status, sex, gender, gender identity, gender expression, age, sexual orientation, or

     2 veteran or military status is hereby recognized as and declared to be a civil right."

     3       88. Defendants, by and through the actions of their managing agents, discriminated against or

     4 otherwise knew of and ratified the discrimination and ultimate discharge of Plaintiff. Said

     5 discrimination and termination of Plaintiffs employment was a violation of public policy and

     6 violated and abridged Plaintiffs opportunity to hold employment without discrimination on the

     7 basis of age.

     8       89. Defendants wrongfully terminated Plaintiffs employment in violation of various other

     9 fundamental public policies underlying both state and federal laws including, but not limited to, the

    10 California Labor Code and the California Constitution.

    11       90. As a proximate result of Defendants' wrongful termination of Plaintiffs employment in

    12 violation of fundamental public policies, Plaintiff has suffered and continues to suffer humiliation,

    13 emotional distress, and mental and physical pain and anguish, all to her damage in a sum according

    14 to proof.

    15       91. As a proximate result of Defendants' wrongful termination of her employment, Plaintiff

    16 has suffered general and special damages in sums according to proof.

    17       92. Defendants' wrongful termination of Plaintiffs employment was done intentionally, in a

    18 malicious, fraudulent, and/or oppressive manner, and this entitles Plaintiff to punitive damages.

    19       93. Plaintiff has incurred and continues to incur legal expenses and attorneys' fees. Pursuant

    20 to Code of Civil Procedure §§ 1021.5 and 1032, et seq., Plaintiff is entitled to recover reasonable

    21 attorneys' fees and costs in an amount according to proof

    22                                      NINTH CAUSE OF ACTION

    23              Unfair Business Practices (Business and Professions Code § 17200 et seq.)

    24                                          Against All Defendants

    25       94. The allegations set forth in the preceding paragraphs are re-alleged and incorporated

    26 herein by reference.

    27       95. Defendants' conduct as alleged herein, including, without limitation, failing to compensate

    28 their employees pursuant to California labor laws and discriminating against their employees in
                                                          - 17 -
                                 FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 20 of 57 Page ID #:29




      1   violation of the FEHA, has been, and continues to be, unfair, unlawful, and harmful to Plaintiff and

      2   to the general public. Plaintiff seeks to enforce important rights affecting the public interest within

      3   the meaning of California Code of Civil Procedure § 1021.5.

      4       96. Defendants' conduct, as alleged herein, are violations of California law and constitute

      5   unfair and unlawful business acts and practices in violation of Business and Professions Code

      6   § 17200 et seq.

      7       97. A violation of Business and Professions Code § 17200 et seq. may be predicated on the

      8. violation of any state or federal law. In this instant case, Defendants' policies and practices violate,

      9   among other things, California's laws prohibiting discrimination, wrongful termination of

     10   employment, and wage and hour violations under the Labor Code and applicable Wage Order, as

     11   set forth above.

     12       98. Among other violations, Defendants have violated Government Code § 12900 et seq.

     13   (FEHA), Labor Code §§ 201, 202, 226, 226.3, 226.7, 510, 512, and Wage Order 7-2001. These

     14   violations of state statutes, rules, and regulations constitute unlawful business acts and practices in

     15   violation of Business and Professions Code § 17200 et seq.

     16       99. Plaintiff has been personally aggrieved by Defendants' unlawful business acts and

     17 practices, as alleged herein, including, but not limited to, the loss of money.

     18       100. Pursuant to Business and Professions Code § 17200 et seq., Plaintiff is entitled to

     19   restitution and a permanent injunction preventing Defendants from engaging in such unfair,

     20   unlawful, and harmful conduct, an award of reasonable attorneys' fees pursuant to Code of Civil

    21    Procedure § 1021.5 and other applicable laws, and an award of costs.

    22                                               VII. PRAYER

    23        WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, jointly and

    24    severally, as follows:

    25             1. For compensatory, general, and special damages, according to proof;

    26             2. For punitive and exemplary damages, according to proof;

    27             3. For all unpaid wages, including regular wages, overtime wages, meal break premium

    28                 wages, and rest break premium wages;
                                                          - 18 -
                                   FIRST AMENDED COMPLAINT FOR DAMAGES
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      1         4. For statutory and civil penalties, including waiting time penalties, under the Labor

      2            Code, to the extent applicable by law;

      3         5. For pre-judgment and post-judgment interest;

      4         6. For reasonable attorneys' fees pursuant to the Labor Code, Code of Civil Procedure §

      5            1021.5, and to the extent applicable by law;

      6         7. For costs of suit incurred herein; and

      7         8. For such other and further relief as the Court may deem just and proper.

      8

      9     Dated: June 16, 2022

     10                                         KONELL RUGGIERO LLP,

     11

     12                                                                                  7
                                                Cheryl Ruggiero
     13
                                                Attorneys for Plaintiff MELISSA EPSTEIN
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                              FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 22 of 57 Page ID #:31




     1                                   DEMAND FOR JURY TRIAL

     2      Plaintiff herein demands trial by jury.

      3

      4     Dated: June 16, 2022

      5                                          KONELL RUGGIERO LLP

      6

      7
                                                 Cheryl Ruggiero
      8
                                                 Attorneys for Plaintiff MELISSA EPSTEIN
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                                             (CITAC/ON JUDICIAL)
          NOTICE TO DEFENDANT: MAKE-UP ART COSMETICS, INC., a Delaware
          (AVISO AL DEMANDADO): Corporation: ESTEE LAUDER INC,, a Delaware
           Corporation; THE ESTEE LAUDER COMPANIES iNC., a Delaware Corporation;
           and DOES 1 — 25, inclusive,

          YOU ARE BEING SUED BY PLAINTIFF: MELISSA EPSTEIN
          (LO ESTA DEMANDANDO EL DEMANDANTE):




            NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the informatiori
            below,
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
            served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
            case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
            Online Selt-Help Center (wwwxourtinfe.ca.govIselthelp), your county law library, or the courthouse nearest you. If you cannot pay the filing'fee, ask
            the court clerk for a fee waiver form. If you do not file your response on time, you may lose tne case by default, and your wages, money, and property
            may be taken without further warning from the court.
                There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
            these nonprofit groups at the California Legal Services Web site (www.lawhelpcafifornia.org), the Galifomia Courts Online Self-Help Center
            (www.couranfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
            costs on any settlement or arbitration award of 510,000 or more in a civil case. The court's Hen must be paid before the court will dismiss the case.
           jAVlSO! Lo pan demandado. Si no responde dentro de 30 dies, la cone puede decidir en su contra sin escuchar su version. Lea la infarmacidn a
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           programa de servicios legates sin fines de lucre. Puede encontrar estos grupos sin fines de lucre en el sitio web de California Legal Services,
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         (El nombre y direction de la cone es):
         Superior Court of California, County ofLos Angeles                                              22E -1-               1 657 4
         111 North Hill Street
         Los Angeles, California 90012          (Stanley Mask Courthouse)
          The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
          (El nombre, la direction y el nOmero de telefono del abogado del demandante, a del demandante que no (lone abogado, es):
         Cheryl Ruggiero/ Konell Ruggiero LLP            Sherri R. Carter Executive Officer i Clerk of Court
         401 Wilshire Boulevard, 12th Floor, Santis Monica, CA 90401                                                         213-538-1360
          DATE:     0519P022                                                  Clerk, by                                                  , Deputy
          (Fecha)                                            •                (Secretario)                  R Clifton                     (Adjunto)
         (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
         (Para prueba de entrega de esfa citation use el formulario Proof of Service of Summons: (POS-010)),
                              I            NOTICE TO THE PERSON SERVED: You are served
                3
                                           1.       as an individual defendant.
                                           2. I     as the person sued under the fictitious name of (specify):


                                                3 EX3  on behalf of s
                                                                                       MAKE-UP ART COSMETICS, INC., a Delaware
                                                                            ;
                                                                    (      ) Corporation
                                                   under DC] CCP 416.10 (corporation)                                           CCP 416.60 (minor)
                                                               CCP 416.20 (defunct corporation)                                 CCP 416,70 (conservatee)
                                                               CCP 416.40 (association or partnership)                          CCP 416.90 (authorized person)
                                                               other (specify):
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        ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)4LS
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        Cheryl Ruggiero                                     SBN: 146885
        Konell Ruggiero LLP
        401 Wilshire Boulevard, 12th Floor, Santa Monica, CA 90401
               TELEPHONE NO.:213- 538-1360             FAX NO. (Optional): 213-599-3222
              E-MAIL ADDRESS: cheryl@konellruggiero.corn
          ATTORNEY FOR (Name): Plaintiff MELISSA EPSTEIN

        SUPERIOR COURT OF CALIFORNIA, COUNTY OFLOS ANGELES
         STREET ADDRESS:      111 North Hill Street
         MAILING ADDRESS:     111 North Hill Street
        CITY AND ZIP CODE:    Los Angeles, 90012
             BRANCH NAME:     Stanley Mosk Courthouse
        CASE NAME: MELISSA EPSTEIN v. MAKE-UP ART COSMETICS, INC. et al.


               CIVIL CASE COVER SHEET                                                                                   CASE NUMBER:
                                                                         Complex Case Designation
          X     Unlimited                      Limited                       Counter                     Joinder          2 28T CV 1 6 67 4
                (Amount                        (Amount
                                                                Filed with first appearance by defendant JUDGE:
                demanded                       demanded is
                exceeds $25,000)               $25,000 or less)     (Cal. Rules of Court, rule 3.402) •  . DEPT.:
                                                 Items 1-6 below must be completed (see instructions on page 2).
         1. Check one box below for the case type that best describes this case:
             Auto Tort                                              Contract                                         Provisionally Complex Civil Litigation
                     Auto (22)                                             Breach of contract/warranty (06)          (Cal. Rules of Court, rules 3.400-3.403)
                   Uninsured motorist (46)                                Rule 3.740 collections (09)                       Antitrust/Trade regulation (03)
             Other PI/PD/WD (Personal Injury/Property                      Other collections (09)                           Construction defect (10)
             Damage/Wrongful Death) Tort                                                                                    Mass tort (40)
                                                                          Insurance coverage (18)
                     Asbestos (04)                                         Other contract (37)                              Securities litigation (28)
                     Product liability (24)                                                                                Environmerital/Toxic tort (30)
                                                                    Real Property
                     Medical malpractice (45)                                                                              Insurance coverage claims arising from the
                                                                          Eminent domain/Inverse
                     Other Pl/PDNVD (23)                                                                                   above listed provisionally complex case
                                                                          condemnation (14)
                                                                                                                           types (41)
             Non-PI/PD/WD (Other) Tort            •                       Wrongful eviction (33)                     Enforcement of Judgment
                     Business tort/unfair business practice (07)         Other real property (26)                           Enforcement of judgment (20)
                     Civil rights (08)                              Unlawful Detainer
                                                                                                                     Miscellaneous Civil Complaint
                     Defamation (13)                                       Commercial (31)
                                                                                                                            RICO (27)
                     Fraud (16)                                           Residential (32)
                                                                                                                            Other complaint (not specified above) (42)
                     Intellectual property (19)                           Drugs (38)
                                                                                                                     Miscellaneous Civil Petition
                     Professional negligence (25)                   Judicial Review
                                                                                                                            Partnership and corporate governance (21)
                  Other non-PI/PD/WD tort (35)                            Asset forfeiture (05)
             Employment                                                   Petition re: arbitration award (11)               Other petition (not specified above) (43)

              X      Wrongful termination (36)                            Writ of mandate (02)
                     Other employment (15)                                Other judicial review (39)

        2.    This case               is      X       is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
              factors requiring exceptional judicial management:
             a.        Large number of separately represented parties                  d.           Large number of witnesses
             b.        Extensive motion practice raising difficult or novel            e.           Coordination with related actions pending in one or more
                       issues that will be time-consuming to resolve                                courts in other counties, states, or countries, or in a federal
             c.        Substantial amount of documentary evidence                                   court
                                                                                    f.              Substantial postjudgment judicial supervision
        3. Remedies sought (check all that apply): a.                X   monetary b.              nonmonetary; declaratory or injunctive relief c. X punitive
        4. Number of causes of action (specify):9
        5.    This case         is     X is not      a class action suit.
        6.    If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
        Date: May 19, 2022
        Cheryl Ruggiero
                                     (TYPE OR PRINT NAME)
                                                                                                  0 1.
                                                                                                         f y ` s11
                                                                                                                   (SIGNATURE OF PA    Y CR ATTORNEY FOR PARTY)
                                                                                    NOTICE
         • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
           under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
           in sanctions.
         • File this cover sheet in addition to any cover sheet required by local court rule.
         • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
           other parties to the action or proceeding.
         • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                            Page 1 of 2
        Form Adopted for Mandatory Use                                                                                        Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740,
          Judicial Council of California                              CIVIL CASE COVER SHEET                                          Cal. Standards of Judicial Administration, std. 3.10
        CM-010 [Rev.September 1, 2021]                                                                                                                                 www.courts.ca.gov
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 25 of 57 Page ID #:34
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                       CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be. indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)—Personal Injury/Property             Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                       Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
      Uninsured Motorist (46) (if the                     Contract (not unlawful detainer              Construction Defect (10)
       case involves an uninsured                             or wrongful eviction)                    Claims Involving Mass Tort (40)
       motorist claim subject to                      Contract/Warranty Breach—Seller                  Securities Litigation (28)
        arbitration, check this item                      Plaintiff (not fraud or negligence)          Environmental/Toxic Tort (30)
       instead of Auto)                               Negligent Breach of Contract/                    Insurance Coverage Claims
 Other PI/PD/WD
            PDAND (Personal Injury/                                                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                     case type listed above) (41)
 Tort                                              Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                     book accounts) (09)                           Enforcement of Judgment (20)
        Asbestos Property Damage                       Collection Case—Seller Plaintiff                  Abstract of Judgment (Out of
        Asbestos Personal Injury/                      Other Promissory Note/Collections                      County)
              Wrongful Death                                Case                                     Confession of Judgment (non-
     Product Liability (not asbestos or            Insurance Coverage (not provisionally                  domestic relations)
         toxic/environmental) (24)                     complex) (18)                                 Sister State Judgment
     Medical Malpractice (45)                          Auto Subrogation                              Administrative Agency Award
          Medical Malpractice—                         Other Coverage                                    (not unpaid taxes)
               Physicians & Surgeons               Other Contract
                                                              t t (37)                               Petition/Certification of Entry of
     Other Professional Health Care                    Contractual Fraud d                                Judgment on Unpaid Taxes
             Malpractice                               Other Contract Dispute                        Other Enforcement of Judgment
     Other PUPD/WD (23)                         Real Property                                               Case
          Premises Liability (e.g., slip           Eminent Domain/Inverse                         Miscellaneous Civil Complaint
               and fall)                               Condemnation (14)                             RICO (27)
          Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)                            Other Complaint (not specified
                (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)            above) (42)
          Intentional Infliction of                    Writ of Possession of Real Property                Declaratory Relief Only
               Emotional Distress                      Mortgage Foreclosure                               Injunctive Relief Only (non-
          Negligent Infliction of                      Quiet Title                                              harassment)
                Emotional Distress                     Other Real Property (not eminent                   Mechanics Lien
          Other Pl/PD/WD                               domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort •                           foreclosure)                                             Case (non-tort/non-complex)
     Business Tort/Unfair Business              Unlawful Detainer                                          Other Civil Complaint
         Practice (07)                             Commercial (31)                                              (non-tort/non-complex)
     Civil Rights (e.g., discrimination,           Residential (32)         •                     Miscellaneous Civil Petition
           false arrest) (not civil                Drugs (38) (if the case involves illegal          Partnership and Corporate
           harassment) (08)                        drugs, check this item; otherwise,                     Governance (21)
     Defamation (e.g., slander, libel)             report as Commercial or Residential)  l           Other Petition (not specified
            (13)                                Judicial Review                                           above) (43)
     Fraud (16)                                    Asset Forfeiture (05)                                  Civil Harassment
     Intellectual Property (19)                    Petition Re: Arbitration Award (11)                    Workplace Violence
     Professional Negligence (25)                  Writ of Mandate (02)                                   Elder/Dependent Adult
         Legal Malpractice                             Writ—Administrative Mandamus                            Abuse
         Other Professional Malpractice                Writ—Mandamus on Limited Court                     Election Contest
              (not medical or legal)                      Case Matter                                     Petition for Name Change
     Other Non-PI/PD/WD Tort (35)                      Writ—Other Limited Court Case                      Petition for Relief From Late
 Employment                                               Review                                               Claim
     Wrongful Termination (36)                     Other Judicial Review (39)                             Other Civil Petition
     Other Employment (15)                             Review of Health Officer Order
                                                       Notice of Appeal—Labor
                                                            Commissioner Appeals
CM-010 [Rev. September 1, 2021)                                                                                                          Page 2 of 2
                                                        CIVIL CASE COVER SHEET
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       SHORT TITLE                                                                                                               CASE NUMBER
       EPSTEIN v. MAKE-UP ART COSMETICS, INC. et al.


                            CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                      (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

              This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type
     in Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.
     Step 2: In Column B, check the box for the type of action that best describes the nature of the case.
     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
     chosen.



                                             Applicable Reasons for Choosing Courthouse Location (Column C)


       1.           Class Actions must be filed in the Stanley Mosk Courthouse, Central District.   7.    Location where petitioner lives.

       2.           Permissive filing in Central District.                                          8.    Location wherein defendant/respondent functions wholly.

       3.           Location where cause of action arose.                                           9.    Location where one or more of the parties reside.

       4.           Mandatory personal injury filing in North District.                             10.   Location of Labor Commissioner Office.

       5.           Location where performance required, or defendant resides.                      11.   Mandatory filing location (Hub Cases — unlawful detainer, limited
                                                                                                          non-collection, limited collection, or personal injury).
       6.           Location of property or permanently garaged vehicle.




                                       A                                                          B                                                       C
                            Civil Case Cover Sheet                                          Type of Action                                       Applicable Reasons
                                   Case Type                                               (check only one)                                      (See Step 3 above)


                                             Personal Injury Cases Assigned to the Personal Injury Hub Courts
                                      Auto (22)               ❑ 2201 Motor Vehicle — Personal Injury/Property                                            1, 4, 11
                                                              Damage/Wrongful Death

                            Uninsured Motorist (46)           04601Uninsured Motorist— Personal Injury/Property                                          1, 4, 11
                                                              Damage/Wrongful Death

                             Other Personal Injury/           ❑ 2301 Premise Liability (e.g., dangerous conditions of                                    1, 4, 11
        Auto Tort




                              Property Damage/                property, slip/trip and fall, dog attack, etc.)
                             Wrongful Death (23)
                                                              ❑ 2302 Intentional Bodily Injury/Property Damage/Wrongful                                  1, 4, 11
                                                              Death (e.g., assault, battery, vandalism, etc.)

                                                               ❑ 2303 Intentional Infliction of Emotional Distress                                       1, 4, 11

                                                              ❑ 2304 Other Personal Injury/Property Damage/Wrongful                                      1, 4, 11
                                                              Death

                                                               ❑ 2307 Construction Accidents                                                             1, 4, 11


LASC CIV 109 Rev. 05/22                                      CIVIL CASE COVER SHEET ADDENDUM                                                       LASC Local Rule 2.3
For Mandatory Use
                                                                AND STATEMENT OF LOCATION
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       SHORT TITLE                                                                                                       CASE NUMBER
      EPSTEIN v. MAKE-UP ART COSMETICS, INC. et al.


                                                     A                                            B                                            C
                                          Civil Case Cover Sheet                            Type of Action                             Applicable Reasons
                                                 Case Type                                 (Check only one)                            (See Step 3 above)


                                                   Personal Injury Cases Assigned to the Independent Calendar Courts
                                           Product Liability (24)     D 2401 Product Liability (not asbestos or toxic/                       1, 3, 5
                                                                      environmental)
        Other Personal Injury/Property
        Damage/Wrongful Death Tort




                                                                      CI 2402 Product Liability -Song-Beverly Consumer Warranty              1, 3, 5
                                                                      Act (CA Civil Code §§1790-1795.8) (Lemon Law)

                                         Medical Malpractice (45)     1=14501 Medical Malpractice - Physicians & Surgeons                    1, 3, 5

                                                                      1=14502 Other Professional Health Case Malpractice                     1, 3, 5

                                          Other Personal Injury /     1=12305 Elder/Dependent Adult Abuse/Claims Against Skilled             1, 3, 5
                                           Property Damage /          Nursing Facility
                                           Wrongful Death (23)
                                                                      0 2306 Intentional Conduct - Sexual Abuse Case (in any                 1, 3, 5
                                                                      form)

                                                                      ID 2308 Landlord -Tenant Habitability (e.g., bed bugs, mold,           1, 3, 5
                                                                      etc.)


                                                         Other Civil Cases Assigned to Independent Calendar Courts

         ai                                  Business Tort (07)       0 0701 Other Commercial/Business Tort (not fraud or                    1, 2, 3
         ba
          E                                                           breach of contract)
        CI
                                              Civil Rights (08)       El 0801 Civil Rights/Discrimination                                    1, 2, 3
        01             I-
        D.
        0               4,                                                                                                                   1, 2, 3
        L.               fp                  Defamation (13)          0 1301 Defamation (slander/libel)
        CL              (1)


         3                                      Fraud (16)            0 1601 Fraud (no contract)                                             1, 2, 3
         C


         c 2
        To
                                          Professional Negligence     0 2501 Legal Malpractice                                               1, 2, 3
         (9                                         (25)
         071                                                          0 2502 Other Professional Malpractice (not medical or legal)           1, 2, 3

         0                                      Other (35)            0 3501 Other Non-Personal Injury/Property Damage Tort                  1, 2, 3
        z
                                         Wrongful Termination (36)    0 3601 Wrongful Termination                                            1,03
         E
         0                                Other Employment (15)       0 1501 Other Employment Complaint Case                                 1, 2, 3

         E                                                            0 1502 Labor Commissioner Appeals                                        10

                                            Breach of Contract /      0 0601 Breach of Rental/Lease Contract (not unlawful                    2, 5
                                               Warranty (06)          detainer or wrongful eviction)
        4,
         CO                                   (not insurance)
        CO
        4,                                                            ❑ 0602 Contract/Warranty Breach - Seller Plaintiff (no                  2, 5
         0                                                            fraud/negligence)
        U

                                                                      1=10603 Negligent Breach of Contract/Warranty (no fraud)               1, 2, 5



LASC CIV 109 Rev. 05/22                                             CIVIL CASE COVER SHEET ADDENDUM                                     LASC Local Rule 2.3
For Mandatory Use
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      SHORT TITLE                                                                                          CASE NUMBER
      EPSTEIN v. MAKE-UP ART COSMETICS, INC. et al.


                                      A                                             B                                             C
                           Civil Case Cover Sheet                             Type of Action                             Applicable Reasons
                                  Case Type                                  (check only one)                            (See Step 3 above) -

                             Breach of Contract/       ❑ 0604 Other Breach of Contract/Warranty (no fraud/                      1, 2, 5
                                Warranty (06)          negligence)
                               (not insurance)         I=10605 Breach of Rental/Lease Contract (COVID-19 Rental                   2, 5
                                                       Debt)
                               Collections (09)        ❑ 0901 Collections Case -Seller Plaintiff                                5, 6, 11

                                                       ❑ 0902 Other Promissory Note/Collections Case                             5, 11
       Contract




                                                       ❑ 0903 Collections Case - Purchased Debt (charged off                    5, 6, 11
                                                       consumer debt purchased on or after January 1, 2014)
                                                       ❑ 0904 Collections Case - COVID-19 Rental Debt                            5, 11

                           Insurance Coverage (18)     ❑ 1801 Insurance Coverage (not complex)                                 1, 2, 5, 8

                             Other Contract (37)       ❑ 3701 Contractual Fraud                                                1, 2, 3, 5

                                                       ❑ 3702 Tortious Interference                                            1, 2, 3, 5

                                                       ❑ 3703 Other Contract Dispute (not breach/insurance/fraud/             1, 2, 3, 8, 9
                                                       negligence)
                           Eminent Domain/ Inverse     ❑ 1401 Eminent Domain/Condemnation                                         2, 6
                             Condemnation (14)
                                                                                       Number of Parcels
       Real Property




                            Wrongful Eviction (33)     ❑ 3301 Wrongful Eviction Case                                              2, 6

                           Other Real Property (26)    ❑ 2601 Mortgage Foreclosure                                                2, 6

                                                       ❑ 2602 Quiet Title                                                         2, 6

                                                       ❑ 2603 Other Real Property (not eminent domain,                            2, 6
                                                       landlord/tenant, foreclosure)
                             Unlawful Detainer -       ❑ 3101 Unlawful Detainer - Commercial (not drugs or                       6, 11
                              Commercial (31)          wrongful eviction)
       Unlawful Detainer




                             Unlawful Detainer-        ❑ 3201 Unlawful Detainer- Residential (not drugs or                       6, 11
                              Residential (32)         wrongful eviction)

                           Unlawful Detainer- Post     ❑ 3401 Unlawful Detainer- Post Foreclosure                               2, 6, 11
                               Foreclosure (34)

                             Unlawful Detainer -       ❑ 3801 Unlawful Detainer -Drugs                                          2, 6, 11
                                 Drugs (38)

                             Asset Forfeiture (05)     ❑ 0501 Asset Forfeiture Case                                             2, 3, 6

                            Petition re Arbitration    ❑ 1101 Petition to Compel/Confirm/Vacate Arbitration                       2, 5
       Review
       Judicial




                                      (11)
                            Writ of Mandate (02)       I=10201 Writ -Administrative Mandamus                                      2, 8

                                                       ❑ 0202 Writ - Mandamus on Limited Court Case Matter                         2

                                                       E10203 Writ -Other Limited Court Case Review                                2

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For MandatOry Use
                                                         AND STATEMENT OF LOCATION
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       SHORT TITLE                                                                                                                                        CASE NUMBER
       EPSTEIN v. MAKE-UP ART COSMETICS, INC. et al.


                                                      A                                                               B                                                          C
                                           Civil Case Cover Sheet                                               Type of Action                                          Applicable Reasons
                                                  Case Type                                                    (check only one)                                         (See Step 3 above)
                                           Other Judicial Review (39)    ❑ 3901 Other Writ/Judicial Review                                                                     2, 8
        Review
        Judicial




                                                                         ❑ 3902 Administrative Hearing                                                                         2, 8

                                                                         ❑ 3903 Parking Appeal                                                                                 2, 8

                                                Antitrust/Trade          00301 Antitrust/Trade Regulation                                                                     1, 2, 8
                                                Regulation (03)
                                                 Asbestos (04)           ❑ 0401 Asbestos Property Damage                                                                       1, 11
        Provisionally Complex Litigation




                                                                         00402 Asbestos Personal Injury/Wrongful Death                                                         1, 11

                                           Construction Defect (10)      ❑ 1001 Construction Defect                                                                           1, 2, 3

                                             Claims Involving Mass       ❑ 4001 Claims Involving Mass Tort                                                                    1, 2, 8
                                                   Tort (40)

                                           Securities Litigation (28)    ❑ 2801 Securities Litigation Case                                                                    1, 2, 8

                                                  Toxic Tort             ❑ 3001 Toxic Tort/Environmental                                                                     1, 2, 3, 8
                                              Environmental (30)
                                             Insurance Coverage          ❑ 4101 Insurance Coverage/Subrogation (complex case only)                                           1, 2, 5, 8
                                             Claims from Complex
                                                   Case (41)
                                           Enforcement of Judgment       ❑ 2001 Sister State Judgment                                                                        2, 5, 11
        Enforcement of Judgment




                                                    (20)
                                                                         1=12002 Abstract of Judgment                                                                          2, 6

                                                                         ❑ 2003 Confession of Judgment (non-domestic relations)                                                2, 9

                                                                         ❑ 2004 Administrative Agency Award (not unpaid taxes)                                                 2, 8

                                                                         ❑ 2005 Petition/Certificate for Entry of Judgment Unpaid Tax                                          2, 8

                                                                         ❑ 2006 Other Enforcement of Judgment Case                                                            2, 8, 9

                                                   RICO (27)             ❑ 2701 Racketeering (RICO) Case                                                                      1, 2, 8

                                               Other Complaints          ❑ 4201 Declaratory Relief Only                                                                       1, 2, 8
                                           (not specified above) (42)
        Miscellaneoi
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                                           Partnership Corporation       ❑ 2101 Partnership and Corporation Governance Case                                                    2, 8
        Miscellaneous
        Civil Petitions




                                              Governance (21)

                                                Other Petitions          ❑ 4301 Civil Harassment with Damages                                                                 2, 3, 9
                                           (not specified above) (43)
                                                                         ❑ 4302 Workplace Harassment with Damages                                                             2, 3, 9


LASC CIV 109 Rev. 05/22                                                 CIVIL CASE COVER SHEET ADDENDUM                                                                  LASC Local Rule 2.3
For Mandatory Use
                                                                           AND STATEMENT OF LOCATION
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      SHORT TITLE                                                                                                    CASE NUMBER
      EPSTEIN v. MAKE-UP ART COSMETICS, INC. et al.


                                          A                                               B                                                 C
                               Civil Case Cover Sheet                               Type of Action                                 Applicable Reasons
                                      Case Type                                    (check only one)                                (See Step 3 above)
                                    Other Petitions
                                                              0 4303 Elder/Dependent Adult Abuse Case with Damages                       2, 3, 9
       Miscellaneous Civil




                               (not specified above) (43)
                                                              E 4304 Election Contest                                                      2
           Petitions




                                                              0 4305 Petition for Change of Name/Change of Gender                         2, 7

                                                              0 4306 Petition for Relief from Late Claim Law                             2, 3, 8

                                                              0 4307 Other Civil Petition                                                 2, 9


     Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under
     Column C for the type of action that you have selected. Enter the address, which is the basis for the filing
     location including zip code. (No address required for class action cases).
      REASON:                                                                           ADDRESS:
                                                                                                       6600 Topanga Canyon Boulevard
       0 1. El 2. 0 3. 0 4. 0 5. 0 6. 0 7. 0 8. 1=19. 1=110. 0 11.

       CITY:                                         STATE:            ZIP CODE:

       CANOGA PARK                                   CA                91303

     Step 5: Certification of Assignment: I certify that this case is properly filed in the Central (Stanley Mosk Court)
     District of the Superior Court of California, County of Los Angeles [Code of Civ. Proc., 392 et seq., and LASC
     Local Rule 2.3(a)(1)(E)]


     Dated:                  05/19/2022
                                                                                        (SIGNATUl E OF ATTORNEY/FILING PARTY)


     PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
     COMMENCE YOUR NEW COURT CASE:
               1. Original Complaint or Petition.
               2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
               3. Civil Case Cover Sheet Judicial Council form CM-010.
               4. Civil Case Cover Sheet Addendum and Statement of Location form LASC CIV 109 (05/22).
               5. Payment in full of the filing fee, unless there is a court order for waiver, partial or schedule payments.
               6. A signed order appointing a Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or
                  petitioner is a minor under 18 years of age will be required by Court to issue a Summons.
               7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this
                  addendum must be served along with the Summons and Complaint, or other initiating pleading in
                  the case.



LASC CIV 109 Rev. 05/22                                     CIVIL CASE COVER SHEET ADDENDUM                                         LASC Local Rule 2.3
For Mandatory Use
                                                               AND STATEMENT OF LOCATION
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          "e;

                   Superior Court of California, County of Los Angeles



                          ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                 INFORMATION PACKAGE

 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
   •    Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
   •    No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Tvoes of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
      settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.
                Mediation may not be appropriate when the parties
                  • want a public trial and want a judge or jury to decide the outcome.
                  • lack equal bargaining power or have a history of physical/emotional abuse.



   LASC CIV 271 Rev. 02/22
                                                                                                                   Page 1 of 2
   For Mandatory Use
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                                  How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

          a. The Civil Mediation Vendor Resource List
             If all parties in an active civil case agree to mediation, they may contact these organizations
             to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
             cases).

                   •     ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                         (949) 863-9800
                   •     Mediation Center of Los Angeles Program Manager info@mediationLA.org
                         (833) 476-9145


      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourtorg/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

          b.   Los Angeles County Dispute Resolution Programs
               https://hrt.lacountv.goviwp-content/uploads/2020/05/DRP-Fact-Sheet-230ctaber19-Current-as-of-October-2019-1.pdf

               Day of trial mediation programs have been paused until further notice.

               Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
               should carefully review the Notice and other information they may receive about (ODR)
               requirements for their case.

          c.   Mediators and ADR and Bar organizations that provide mediation may be found on the Internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator'sdecision. For more information about arbitration, visit
      httpl/www.courts.cagov/programs-adrhtm

      4. Mandatory SettlementConferences (MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit httpWwww.laceurtorgidivisionLivii/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.org division/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


LASC CIV 271Rev. 02/22
For Mandatory Use                                                                                               Page 2 of 2
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 33 of 57 Page ID #:42
                                                                                                 2019-GEN-014-00

                                                                                    FILED
                                                                             Superior Court of California
                                                                               County of Los Angeles
                                                                                   MAY 02 2019
                                                                         Sherri Carter,     utive °Meer/Clerk
                                                                                        Ex,
                                                                              r(V -44 ,4            , Deputy
 4                                                                                  alinda Mina

 5
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                   FOR THE COUNTY OF LOS ANGELES
 7

 8   IN RE LOS ANGELES SUPERIOR COURT)                  FIRST AMENDED GENERAL ORDER
     — MANDATORY ELECTRONIC FILING )
 9   FOR CIVIL
10

11

12          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all

13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los

14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex

15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)

16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the

17   following:

18   1) DEFINITIONS

19      a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to

20          quickly locate and navigate to a designated point of interest within a document.

21      b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling

22          portal, that gives litigants access to the approved Electronic Filing Service Providers.

23      c) "Electronic Envelope" A transaction through the electronic service provider for submission

24          of documents to the Court for processing which may contain one or more PDF documents
25          attached.

26      d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27          document in electronic form. (California Rules of Court, rule 2.250(b)(7).)

28


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 34 of 57 Page ID #:43
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 1       e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a

 2          person or entity that receives an electronic filing from a party for retransmission to the Court.
 3          In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
 4          agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
 5       1) "Electronic Signature" For purposes of these local rules and in conformity with Code of
 6          Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
 7          (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule

 8          2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or

 9          process attached to or logically associated with an electronic record and executed or adopted

10          by a person with the intent to sign the electronic record.

11       g) "Hyperlink" An electronic link providing direct access from one distinctively marked place

12          in a hypertext or hypermedia document to another in the same or different document.
13       h) "Portable Document Format" A digital document format that preserves all fonts,

14          formatting, colors and graphics of the original source document, regardless of the application
15          platform used.

16   2   MANDATORY ELECTRONIC FILING

17       a) Trial Court Records

18          Pursuant to Government Code section 68150, trial court records may be created, maintained,

19          and preserved in electronic format. Any document that the Court receives electronically must

20          be clerically processed and must satisfy all legal filing requirements in order to be filed as an

21          official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).

22       b) Represented Litigants

23          Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24          electronically file documents with the Court through an approved EFSP.
25       c) Public Notice
26          The Court has issued a Public Notice with effective dates the Court required parties to

27          electronically file documents through one or more approved EFSPs. Public Notices containing

28          effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.

                                                        2
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 35 of 57 Page ID #:44
                                                                                                  2019-GEN-014-00




 1        d) Documents in Related Cases
 2           Documents in related cases must be electronically filed in the eFiling portal for that case type if
 3           electronic filing has been implemented in that case type, regardless of whether the case has
 4           been related to a Civil case.

 5   3) EXEMPT LITIGANTS

 6        a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
 7           from mandatory electronic filing requirements.
 8        b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
 9           Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10           from filing documents electronically and be permitted to file documents by conventional
11           means if the party shows undue hardship or significant prejudice.

12   4) EXEMPT FILINGS
13        a) The following documents shall not be filed electronically:
14           i)      Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                   Civil Procedure sections 170.6 or 170.3;
16            ii)    Bonds/Undertaking documents;
17            iii)   Trial and Evidentiary Hearing Exhibits
18            iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                   that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20            v)     Documents submitted conditionally under seal. The actual motion or application shall be
21                   electronically filed. A courtesy copy of the electronically filed motion or application to
22                   submit documents conditionally under seal must be provided with the documents
23                   submitted conditionally under seal.
24        b) Lodgments
25            Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26   paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
27   //

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                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 36 of 57 Page ID #:45
                                                                                              2019-GEN-014-00




 1   5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES

 2     Electronic filing service providers must obtain and manage registration information for persons

 3     and entities electronically filing with the court.

 4   6) TECHNICAL REQUIREMENTS

 5     a) Electronic documents must be electronically filed in PDF, text searchable format when

 6         technologically feasible without impairment of the document's image.
 7     b) The table of contents for any filing must be bookmarked.

 8     c) Electronic documents, including but not limited to, declarations, proofs of service, and

 9         exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule

10         3.1110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked

11         item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the

12         bookedmarked item and briefly describe the item.

13     d) Attachments to primary documents must be bookmarked. Examples include, but are not

14         limited to, the following:

15         i)     Depositions;

16         ii)    Declarations;

17         iii)   Exhibits (including exhibits to declarations);

18         iv)    Transcripts (including excerpts within transcripts);

19         v)     Points and Authorities;

20         vi)    Citations; and

21         vii) Supporting Briefs.

22     e) Use of hyperlinks within documents (including attachments and exhibits) is strongly

23         encouraged.

24     f) Accompanying Documents
25         Each document acompanying a single pleading must be electronically filed as a separate
26         digital PDF document.

27     g) Multiple Documents
28         Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                        4
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 37 of 57 Page ID #:46
                                                                                               2019-GEN-014-00




 1     h) Writs and Abstracts
 2        Writs and Abstracts must be submitted as a separate electronic envelope.
 3     i) Sealed Documents
 4        If and when a judicial officer orders documents to be filed under seal, those documents must be
 5        filed electronically (unless exempted under paragraph 4); the burden of accurately designating
 6        the documents as sealed at the time of electronic submission is the submitting party's
 7        responsibility.
 8     j) Redaction
 9        Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10        redact confidential information (such as using initials for names of minors, using the last four
11        digits of a social security number, and using the year for date of birth) so that the information
12        shall not be publicly displayed.

13   7) ELECTRONIC FILING SCHEDULE
14     a) Filed Date
15        i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16            shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17            document received electronically on a non-court day, is deemed to have been effectively
18            filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code
19            Civ. Proc. § 1010.6(b)(3).)
20        ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21            course because of: (1) an interruption in service; (2) a transmission error that is not the
22            fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
23            order, either on its own motion or by noticed motion submitted with a declaration for Court
24            consideration, that the document be deemed filed and/or that the document's filing date
25            conform to the attempted transmission date.

26   8) EX PARTE APPLICATIONS
27     a) Ex parte applications and all documents in support thereof must be electronically filed no later
28        than 10:00 a.m. the court day before the ex parte hearing.

                                                           5
                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 38 of 57 Page ID #:47
                                                                                             2019-GEN-014-00




 1     b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the

 2         day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte

 3         application must be provided to the court the day of the ex parte hearing.
 4   9) PRINTED COURTESY COPIES
 5     a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must

 6         be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If

 7         the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
 8         by 10:00 a.m. the next business day.

 9     b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10         electronic submission) is required for the following documents:

11         i)    Any printed document required pursuant to a Standing or General Order;

i2        ii)    Pleadings and motions (including attachments such as declarations and exhibits) of 26

13               pages or more;
14        iii)   Pleadings and motions that include points and authorities;

15        iv)    Demurrers;

16         v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;

17        vi)    Motions for Summary Judgment/Adjudication; and

18       vii)    Motions to Compel Further Discovery.

19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of

20         additional documents. Courtroom specific courtesy copy guidelines can be found at

21         www.lacourt.or2 on the Civil webpage under "Courtroom Information."

22   0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS

23     a) Fees and costs associated with electronic filing must be waived for any litigant who has

24         received a fee waiver. (California Rules of Court, rules 2.253(b)Q, 2.258(b), Code Civ. Proc. §
25         1010.6(d)(2).)

26     b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27         section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be
28         electronically filed in any authorized action or proceeding.

                                                      6
                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                               2019-GEN-014-00




 1 11) SIGNATURES ON ELECTRONIC FILING

 2      For purposes of this General Order, all electronic filings must be in compliance with California

 3      Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil

 4      Division of the Los Angeles County Superior Court.



            This First Amended General Order supersedes any previous order related to electronic filing,

     and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

     Supervising Judge and/or Presiding Judge.

 9

10   DATED: May 3, 2019
                                                          KEVIN C. BRAZILE
11
                                                          Presiding Judge
12

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                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
 Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 40 of 57 Page ID #:49

                                                                                                    Reserved for Clerk's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                         FILED
 Stanley Mosk Courthouse                                                                           Supetitir Court. of
                                                                                                     Courrly f Lot. Angabt
 111 North Hill Street, Los Angeles, CA 90012
                                                                                                         05/1912022
                   NOTICE OF CASE ASSIGNMENT                                              RierriR.Cirtge,,E=cutwe0Ster €Yaei of Caw

                                                                                            Ey:               R. Cam                    ly
                          UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   22STCV16574

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

              , ASSIGNED JUDGE               DEPT     ROOM                    ASSIGNED JUDGE                         DEPT             ROOM
   V     Barbara M. Scheper                 30




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 05/19/2022                                                         By R. Clifton                                           , Deputy Clerk
                 (Date)

LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
 Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 41 of 57 Page ID #:50

                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 42 of 57 Page ID #:51

                                                                                 Reserved for Clerk's File Stamp
          SUPERIOR COURT OF CALIFORNIA
             COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
                                                                                            FILED
Stanley Mosk Courthouse                                                            Superior Cowl of California
                                                                                     County of LosAngeles
111 North Hill Street Los Angeles, CA 90012                                             06/02/2022
                                                                            Sheri R. Ca-w, Ezocutve0E-ce J Cork of Caul
PLAINTIFF(S):
                                                                             By.            C. Wilson         Deputy
Melissa Epstein
DEFENDANT(S):
Make-Up Art Cosmetics, Inc. et al
                                                                            CASE NUMBER:
     NOTICE OF CASE REASSIGNMENT AND ORDER FOR
         PLAINTIFF TO GIVE NOTICE (Vacate Dates)                           22STCV16574

 TO THE PLAINTIFF(S) AND PLAINTIFF'S ATTORNEY OF RECORD OR PLAINTIFF(S) IN
 PROPRIA PERSONA:


 You are hereby notified that effective 06/02/2022                 , an order was made that the above-
 entitled action, previously assigned to Barbara M. Scheper
 is now and shall be assigned to Stephen I. Goorvitch                                         as an Individual
 Calendar (IC), direct calendaring judge for all purposes, including trial, in department 39
 at Stanley Mosk Courthouse                                     (See Chapter 3, Los Angeles Court
 Rules) All matters on calendar in this case are advanced to this date, vacated, to be rescheduled
 in the newly assigned department indicated above unless otherwise ordered by the court.


 Notice is further given that plaintiff in propria persona or counsel for the plaintiff is ordered to give
 notice of this all-purpose case assignmerit by serving a copy of the notice on all parties to this
 action within 10 days of service of this notice by the court, and file proof of service thereof within 12
 days of this notice. Failure to timely give notice and file proof of service may lead to imposition of
 sanctions pursuant to Code of Civil Procedure section 177.5 or otherwise.


                                                   Sherri R. Carter, Executive Officer/ Clerk of Court

Dated: 06/02/2022                                  By C. Wilson
                                                                  Deputy Clerk
      NOTICE OF CASE REASSIGNMENT AND ORDER FOR PLAINTIFF TO GIVE NOTICE
                                (Vacate Dates)
(Proposed LACIV 253)
LASC Approved [00/00]
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 43 of 57 Page ID #:52


        SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                               Civil Division
                        Central District, Stanley Mosk Courthouse, Department 30

     22STCV16574                                                                          June 2, 2022
     MELISSA EPSTEIN vs MAKE-UP ART COSMETICS, INC., et                                      3:29 PM
     al.


     Judge: Honorable Barbara M. Scheper               CSR: None
     Judicial Assistant: C. Wilson                     ERM: None
     Courtroom Assistant: B. Byers                     Deputy Sheriff: None

     APPEARANCES:
     For Plaintiff(s): No Appearances
     For Defendant(s): No Appearances




     NATURE OF PROCEEDINGS: Court Order Re Peremptory Challenge;

     The Court reviews the Peremptory Challenge filed by Melissa Epstein (Plaintiff) on 05/24/2022
     pursuant to Code of Civil Procedure section 170.6 and finds that it was timely filed, in proper
     format, and is accepted.

     Good cause appearing and on order of the Court, the above matter is reassigned at the direction
     of the Supervising Judge to Judge Stephen I. Goorvitch in Department 39 at the Stanley Mosk
     Courthouse for all further proceedings.

     If any appearing party has not yet exercised a peremptory challenge under Code of Civil
     Procedure section 170.6, peremptory challenges by them to the newly assigned judge must be
     timely filed within the 15 day period specified in Code of Civil Procedure section 170.6, with
     extensions of time pursuant to Code of Civil Procedure section 1013 if service is by mail.
     Previously non-appearing parties, if any, have a 15-day statutory period from first appearance to
     file a peremptory challenge (Government Code section 68616(1)).

     All future hearings in this department are advanced to this date and taken off calendar.




                                               Minute Order                                 Page 1 of 1
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 44 of 57 Page ID #:53

                                                                                    Reserved for Clerk's File Stamp
              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                        FILED
                                                                                  Superior Court of California
  Stanley Mosk Courthouse                                                           County of Los Angeles
  111 North Hill Street Los Angeles, CA 90012                                            06/02/2022
                                                                                  R Ca-Ar . Aertsreo Vic= Clark of CoLoi
  PLAINTIFF/PETITIONER:
                                                                              By:           C. VYdson        Deputy
  Melissa Epstein
  DEFENDANT/RESPONDENT:
  Make-Up Art Cosmetics, Inc. et al
                                                                             CASE NUMBER:
                          CERTIFICATE OF MAILING                             22STCV16574

  I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
  party to the cause herein, and that on this date I served the Notice of Case ReassignmentNacate Hearings
  upon each party or counsel named below by placing the document for collection and mailing so as to
  cause it to be deposited in the United States mail at the courthouse in Los Angeles, California, one copy of
  the original filed/entered herein in a separate sealed envelope to each address as shown below with the
  postage thereon fully prepaid, in accordance with standard court practices.



      Cheryl Ruggiero
      Konell Ruggiero LLP
      401 Wilshire Blvd
      12th Floor
      Santa Monica, CA 90401




                                                      Sherri R. Carter, Executive Officer / Clerk of Court
 Dated: 06/2/2022                                      By: C. Wilson
                                                           Deputy Clerk




                                       CERTIFICATE OF MAILING
 Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 45 of 57 Page ID #:54




 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY OR PARTY WITHOUT ATTORNEY:    STATE BAR NUMBER:              Reserved for Clerk's File Stamp
Cheryl Ruggiero                                                               146885
Konell Ruggiero LLP
401 Wilshire Boulevard, 12th Floor, Santa Monica, CA 90401
e-mail: cheryl@konellruggiero.com
ph: 213-538-1360                               fax: 213-599-3222
 ATTORNEY FOR (Name):Plaintiff MELISSA EPSTEIN                                                                                    •
 SUPERIOR COURT OF. CALIFORNIA, COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
111 North Hill Street, Los Angeles, CA 90012
 PLAINTIFF/PETITIONER: MELISSA EPSTEIN


 DEFENDANT/RESPONDENT: MAKEUP          ART COSMETICS, INC. et al.

                 PEREMPTORY CHALLENGE TO JUDICIAL OFFICER                                              CASE NUMBER:

                                                                                                      22STCV16574
                          (Code Civ. Proc., § 170.6)


                         Name of Judicial Officer: (PRINT)                                 Dept. Number:
                         Barbara M. Scheper                                               30



                              NI Judge                        0 Commissioner                         0 Referee

 I am a party (or attorney for a party) to this action or special proceeding. The judicial officer named
 above, before whom the trial of, or a hearing in, this case is pending, or to whom it has been
 assigned, is prejudiced against the party (or his or her attorney) or the interest of the party (or his or
 her attorney), so that declarant cannot, or believes that he or she cannot, have a fair and impartial
 trial or hearing before the judicial officer.



                                                           DECLARATION
I declare under penalty of perjury, under the laws of the State of California, that the
information entered on this form is true and correct.

Filed on behalf of:          MELISSA EPSTEIN                                  Plaintiff/Petitioner       1=1 Cross Complainant
                                   Name of Party                         ❑ Defendant/Respondent            ❑ Cross Defendant
                                                                         1=1 Other:

Dated:      May 20, 2022
                                                                         Signature of Deciar'ant

                                                                       Cheryl Ruggiero
                                                                         Printed Name




LACIV 015 (Rev. 12-14)
LASC Approved 04-04
                                    PEREMPTORY CHALLENGE TO JUDICIAL OFFICER                                                Code Civ. Proc., § 170.6

For Optional Use                             (Code Civ. Proc., § 170.6)
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 46 of 57 Page ID #:55




                                    VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                       The Early Organizational Meeting Stipulation, Discovery
                                    Resolution Stipulation, and Motions in Limine Stipulation are
   Superior Court of California
   County of Los Angeles
                                    voluntary stipulations entered into by the parties. The parties
                                    may enter into one, two, or all three of the stipulations;
                                    however, they may not alter the stipulations as written,
    LACBA
    ,,C4MGEI,ESCOUNVIMASSOOMitril   because the Court wants to ensure uniformity of application.
   Los Angeles County
   Bar Association                  These stipulations are meant to encourage cooperation
   Litigation Section

   Los Angeles County
                                    between the parties and to assist in resolving issues in a
   Bar Association Labor and
   Employment Law Section           manner that promotes economic case resolution and judicial
                                    efficiency.
    0.—.
                                        The    following organizations     endorse    the   goal of
   Consumer Attorneys
   Association of Los Angeles       promoting efficiency in litigation and ask that counsel
                                    consider using these stipulations as a voluntary way to
                                    promote communications and procedures among counsel
                                    and with the court to fairly resolve issues in their cases.

                                    •Los Angeles County Bar Association Litigation Section*
   Southern California
   Defense Counsel

                                               • Los Angeles County Bar Association
                                                  Labor and Employment Law Section*

   Association of
   Business Trial Lawyers               *Consumer Attorneys Association of Los Angeles*


                                              +Southern California Defense Counsel*


                                              *Association of Business Trial Lawyers*
             CELA

   California Employment
   Lawyers Association
                                         *California Employment Lawyers Association+


      LACIV 230 (NEW)
      LASC Approved 4-11
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Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 47 of 57 Page ID #:56



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
           STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

       1. The parties commit to conduct an initial conference (in-person or via teleconference or via
          videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
          whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g.   Whether or when the case should be scheduled with a settlement officer, what discovery or
                  court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                  and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229 (Rev 02/15)
      LASC Approved 04/11              STIPULATION — EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                      Page 1 of 2
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    SHORT TITLE:                                                                      CASE NUMBER:




                   discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                   complaint;

          h. Computation of damages, including documents, not privileged or protected from disclosure, on
             which such computation is based;

          i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                   www.lacourt.orq under "Civil" and then under "General Information").

    2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                   to                         for the complaint, and                            for the cross-
                            (INSERT DATE)                                       (INSERT DATE)
                   complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                   and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                   been found by the Civil Supervising Judge due to the case management benefits provided by
                   this Stipulation. A copy of the General Order can be found at www.lacourt.orq under "Civil",
                   click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

    3.             The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                   and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                   results of their meet and confer and advising the Court of any way it may assist the parties'
                   efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                   the Case Management Conference statement, and file the 'documents when the CMC
                   statement is due.

   4.              References to "days" mean calendar days, unless otherwise noted. If the date for performing
                   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                   for performing that act shall be extended to the next Court day

   The following parties stipulate:
   Date:

                      (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
   Date:

                      (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
   Date:

                      (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
   Date: •

                      (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
   Date:

                      (TYPE OR PRINT NAME)                                (ATTORNEY FOR
   Date:

                      (TYPE OR PRINT NAME)                                (ATTORNEY FOR
   Date:

                     (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


   LACIV 229 (Rev 02/15)
   LASC Approved 04/11           STIPULATION — EARLY ORGANIZATIONAL MEETING                                 Page 2 of 2
          Print                   Save      I                                                               Clear
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
                    STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                             File a Request for Informal Discovery Conference with the clerk's office on the
                             approved form (copy attached) and deliver a courtesy, conformed copy to the
                             assigned department;

                     ii.     Include a brief summary of the dispute and specify the relief requested; and

                    iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                             that ensures that the opposing party receives the Request for Informal Discovery
                             Conference no later than the next court day following the filing.

                 b. Any Answer to a Request for Informal Discovery Conference must:

                     i.      Also be filed on the approved form (copy attached);

                    ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                     STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                                                    Page 1 of 3
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 50 of 57 Page ID #:59

   SHORT TITLE:                                                                  CASE NUMBER:




                  iii.   Be filed within two (2) court days of receipt of the Request; and

                  iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                         method of service that ensures that the opposing party receives the Answer no
                         later than the next court day following the filing.

         c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
            be accepted.

         d. If the Court has not granted or denied the Request for Informal DiscoverY Conference
            within ten (10) days following the filing of the Request, then it shall be deemed to have
            been denied. If the Court acts on the Request, the parties will be notified whether the
            Request for Informal Discovery Conference has been granted or denied and, if granted,
            the date and time of the Informal Discovery Conference, which must be within twenty (20)
            days of the filing of the Request for Informal Discovery Conference.

         e. If the conference is not held within twenty (20) days of the filing of the Request for
            Informal Discovery Conference, unless extended by agreement of the parties and the
            Court, then the Request for the Informal Discovery Conference shall be deemed to have
            been denied at that time.

    4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
       without the Court having acted or (c) the Informal Discovery Conference is concluded without
       resolving the dispute, then a party may file a discovery motion to address unresolved issues.

    5. The parties hereby further agree that the time for making a motion to compel or other
       discovery motion is tolled from the date of filing of the Request for Informal Discovery
       Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
       filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
       by Order of the Court.

         It is the understanding and intent of the parties that this stipulation shall, for each discovery
         dispute to which it applies, constitute a writing memorializing a "specific later date to which
         the propounding [or demanding or requesting] party and the responding party have agreed in
         writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
         2033.290(c).

   6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
      an order shortening time for a motion to be heard concerning discovery.

   7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
      terminate the stipulation.

   8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
      any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
      for performing that act shall be extended to the next Court day.



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   LASC Approved 04/11             STIPULATION — DISCOVERY RESOLUTION.
   For Optional Use                                                                              Page 2 of 3
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    SHORT TITLE:                                                    CASE NUMBER:




    The following parties stipulate:

    Date:

                   (TYPE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
    Date:

                   (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
    Date:

                   (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
    Date:

                   (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
    Date:

                   (TYPE OR PRINT NAME)                   (ATTORNEY FOR
    Date:

                   (TYPE OR PRINT NAME)                   (ATTORNEY FOR
    Date:

                   (TYPE OR PRINT NAME)                   (ATTORNEY FOR




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   LACIV 036 (new)
   LASC Approved 04/11            STIPULATION — DISCOVERY RESOLUTION
   For Optional Use                                                                           Page 3 of 3
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER                        Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                      CASE NUMBER:
                     INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
       1. This document relates to:
                  ❑           Request for Informal Discovery Conference
                  ❑           Answer to Request for Informal Discovery Conference
       2. Deadline for Court to decide on Request:                                         (insert date 10 calendar days following filing of
             the Request).

       3. Deadline for Court to hold Informal Discovery Conference:                                                (insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094 (new)
      LASC Approved 04/11
                                              INFORMAL DISCOVERY CONFERENCE
      For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
           Print                        Save                                                                              1.__CleFL___ I
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 53 of 57 Page ID #:62



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved far Clerk's File Stamp




                                                                                                                     %



          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
              STIPULATION AND ORDER — MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least       days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075 (new)
      LASC Approved 04/11               STIPULATION AND ORDER — MOTIONS IN LIMINE
      For Optional Use                                                                                                    Page 1 of 2
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        SHORT TITLE:                                                  CASE NUMBER:
•




        The following parties stipulate:
        Date:

                       (TYPE OR PRINT NAME)                       (ATTORNEY FOR PLAINTIFF)
        bate:

                       (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
        Date:

                       (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
        Date:

                       (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
        Date:

                       (TYPE OR PRINT NAME)                  (ATTORNEY FOR
        Date:

                       (TYPE OR PRINT NAME)                  (ATTORNEY FOR
        Date:

                       (TYPE OR PRINT NAME)                  (ATTORNEY FOR



        THE COURT SO ORDERS.

          Date:
                                                                      JUDICIAL OFFICER




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       LACIV 075 (new)
       LASC Approved 04/11       STIPULATION AND ORDER — MOTIONS IN LIMINE               Page 2 of 2
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 55 of 57 Page ID #:64




                                                                                      1
                                                                                      -I -0-
   2                                                                  LOS ANGELES SUP6R1OR COURT

                                                                              MAY 11 2011
  4                                                                      JOHN A CLARKE
                                                                                       LERK

   5                                                                   BY NA CY
                                                                                AVACIPIRRO, DEPUTY

  6

  7                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
   8                           FOR THE COUNTY OF LOS ANGELES

       General Order Re                           )         ORDER PURSUANT TO CCP 1054(a),
  10
       Use of Voluntary Efficient Litigation      )         EXTENDING TIME TO RESPOND BY
  11   Stipulations                               )         30 DAYS WHEN PARTIES AGREE
                                                  )         TO EARLY ORGANIZATIONAL
  12                                                        MEETING STIPULATION
  13

  14
              Whereas the Los Angeles Superior Court and the Executive Committee of the
 15
       Litigation Section of the Los Angeles County Bar Association have cooperated in
 16

 17
       drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

 18    use in general jurisdiction civil litigation in Los Angeles County;
 19           Whereas the Los Angeles County Bar Association Litigation Section; the Los
 20
       Angeles County Bar Association Labor and Employment Law Section; the Consumer
 21
       Attorneys Association of Los Angeles; the Association of Southern California Defense
 22

 23    Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

 24    Employment Lawyers Association all "endorse the goal of promoting efficiency in
 25
       litigation, and ask that counsel consider using these stipulations as a voluntary way to
 26
       promote communications and procedures among counsel and with the court to fairly
 27
       resolve issues in their cases;"
 28

                                                      -1-

                                 ORDER PURSUANT TO CCP 1054(a)
Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 56 of 57 Page ID #:65




              Whereas the Early Organizational Meeting Stipulation is intended to encourage
   1

   2   cooperation among the parties at an early stage in litigation in order to achieve
   3   litigation efficiencies;
  4
              Whereas it is intended that use of the Early Organizational Meeting Stipulation
   5
       will promote economic case resolution and judicial efficiency;
   6

   7
              Whereas, in order to promote a meaningful discussion of pleading issues at the

   8   Early Organizational Meeting and potentially to reduce the need for motions to
   9   challenge the pleadings, it is necessary to allow additional time to conduct the Early
  10
       Organizational Meeting before the time to respond to a complaint or cross complaint
  11
       has expired;
  12

 13           Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

  14   which an action is pending to extend for not more than 30 days the time to respond to
 15
       a pleading "upon good cause shown";
 16
              Now, therefore, this Court hereby finds that there is good cause to extend for 30
 17
       days the time to respond to a complaint or to a cross complaint in any action in which
 18

 19    the parties have entered into the Early Organizational Meeting Stipulation. This finding

 20    of good cause is based on the anticipated judicial efficiency and benefits of economic
 21
       case resolution that the Early Organizational Meeting Stipulation is intended to
 22
       promote.
 23

 24
              IT IS HEREBY ORDERED that, in any case in which the parties have entered

 25    into an Early Organizational Meeting Stipulation, the time for a defending party to
 26    respond to a complaint or cross complaint shall be extended by the 30 days permitted
 27

 28

                                                  -2-

                                  ORDER PURSUANT TO CCP 1054(a)
    Case 2:22-cv-05090-MEMF-AGR Document 1-1 Filed 07/22/22 Page 57 of 57 Page ID #:66

I




          by Code of Civil. Procedure section 1054(a) without further need of a specific court

      2   order.

      3

      4

      5
          DATED:                    z//            Carolyn B. Kuhl` Supervising Judge of the
                                                   Civil Departments, Los Angeles Superior Court
      6

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                                    ORDER PURSUANT TO CCP 1054(a)
